
Kirkpatrick, C. J.
— Although the bond is taken in double the sum sworn to in the affidavit, and indorsed on the writ, yet this being considered as the penalty of the bond, the bond is to be considered as substantially taken for the sum indorsed on the writ, and on that ground the practice had obtained; he was therefore against the demurrer.
*521Rossell, J.
— Was of the same opinion.
Pennington, J.
— There can be no use in changing a settled established practice, from which no evil has arisen. The Court holds an equitable control over bail bond suits; the sum sworn to in the affidavit, and indorsed on the writ, wTith the costs of suit, is what is recovered, and no more.
Demurrer over-ruled.
